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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION
                                      )
CARIDAD AGUILAR and RAUL              )
SOCORRO,                              )
      Plaintiffs,                     )
                                      )      No. 2:13-cv-2661 SHL-tmp
v.
                                      )
ALLSTATE INDEMNITY COMPANY,           )
                                      )
      Defendant.                      )
                                      )

                                  JUDGMENT


JUDGMENT BY COURT. This action having come before the Court on
Defendant’s Notice of Removal (ECF No. 1), filed August 26,
2013,

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in
accordance with the Stipulation of Dismissal with Prejudice (ECF
No. 34) filed March 10, 2015, and pursuant to Federal Rule of
Civil Procedure 41(a)(1)(A)(ii), all claims by Plaintiffs
against Defendant are hereby DISMISSED WITH PREJUDICE. Each
party will bear its own fees and discretionary costs. The cost
of the clerks in both the federal and state court cases pursuant
to Rule 54 of the Rules of Civil Procedure are assessed against
Allstate Indemnity Company.

APPROVED:

s/ SHERYL H. LIPMAN
SHERYL H. LIPMAN
UNITED STATES DISTRICT JUDGE

March 11, 2015
Date
